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                          UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF LOUISIANA
                                  ALEXANDRIA DIVISION

  MANUEL DURAN ORTEGA,
                                                       CASE NO. 1:18-cv-00508-DDD-JPM
                 Petitioner,

                         v.                            JUDGE: Dee D. Drell
  U.S. DEPARTMENT OF HOMELAND
  SECURITY, et al.
                                                       MAGISTRATE JUDGE:
                 Respondents.                          Joseph H.L. Perez-Montes


                                             ORDER


        The Court has reviewed Petitioner Manuel Duran Ortega’s Consent Motion for an

 Extension of Time to File Objections and Memoranda of Law Related to Magistrate Judge’s

 Report and Recommendation and Order (Doc. 21). The Motion is GRANTED. Petitioner shall be

 permitted up to and including July 27, 2018 to file any objections to the undersigned’s July 6,

 2018 Report and Recommendation (“R & R”) (Doc. 19) and to the July 11, 2018 Order denying

 Petitioner’s Motions for an Order to Show Cause and for a Hearing (Doc. 20), as well as any

 memorandum of law related to a certificate of appealability as discussed in the R & R.



                          17th day of July, 2018,
 Ordered and signed this ______



 _________________________________________
 Joseph H.L. Perez-Montes, United States Magistrate
